

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NOS. WR-71,310-05 &amp; -06






BRUCE DARNELL DOTSON II, Relator


v.


GRAYSON COUNTY DISTRICT CLERK, Respondent






ON APPLICATIONS FOR A WRIT OF MANDAMUS

FROM GRAYSON COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in Grayson County, that more than 35 days have elapsed, and that the application has not yet been
forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Grayson County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed an
application for a writ of habeas corpus in Grayson County. These applications for leave to file a writ
of mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: September 22, 2010

Do not publish	


